                                                                                    FILED
                                                                                MAY 2,0 2020
                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA                     PETER A. MOOR§1 ~R., CLE.RIC
                                                                              US DlwuuRT, EONC
                                                                            BY _-+---,MC.,iJ;..__DeP CU(
                           WESTERN DIVISION

                            CASE NO: 5:20-MJ-     I 5,\o
UNITED STATES OF AMERICA                   )
                                           )
      V.                                   )
                                           )    CRIMINAL INFORMATION
ANTONIO L. WALKER                          )
                                           )

Defendant:

   The United States Attorney charges:


                                    COUNT ONE

      THAT, on or about August 22, 2019, on the Fort Bragg Military Reservation,
                                                                       .
an area within the special maritime and territorial jurisdiction of the United States,

and within the Eastern District of North Carolina, ANTONIO L. WALKER, did

unlawfully, knowingly, and-intentionally possess marijuana, a Schedule I controlled

substance, in violation of Title 21, United States Code, Section 844 (a).

                                    COUNT TWO

      THAT, on or about August 22, 2019, on the Fort Bragg Military Reservation,

an area within the special maritime and territorial jurisdiction of the United States,

and within the Eastern District of North Carolina, ANTONIO L. WALKER, did

knowingly use, or possess with the intent to use, drug paraphernalia to plant,

propagate, cultivate, grow, harvest, manufacture, compound, convert; produce,

process, prepare, test, analyze, package, repackage, store, contain, or conceal



                                           1

           Case 5:20-mj-01556-RN Document 1 Filed 05/20/20 Page 1 of 3
marijuana, or did knowingly use, or possess with intent to use, drug paraphernalia

to inject, ingest, inhale, or otherwise introduce marijuana into the body, in violation

of Title 18, United States Code, Section 13, assimilating North Carolina General

Statute 90-113.22A.

                                   COUNT THREE

      THAT, on or about August 22, 2019, on the Fort Bragg Military Reservation,

an area within the special maritime and territorial jurisdiction of the United States,

and within the Eastern District of North Carolina, ANTONIO L. WALKER, did

operate a motor vehicle upon a street, highway, or public vehicular area while

displaying or having in his possession a registration card knowing the same to be

fictitious or having been canceled, revoked, suspended or altered, or willfully

displayed an expired license or registration plate on a vehicle knowing the same to

be expired, in violation of Title 18, United States Code, Section 13, assimilating

North Carolina General Statute 20-111(2).

                                    COUNT FOUR

      THAT, on or about August 22, 2019, on the Fort Bragg Military Reservation,

an area within the special maritime and territorial jurisdiction of the United States,

and within the Eastern District of North Carolina, ANTONIO L. WALKER, did

operate or permit to be operated a motor vehicle registered or required to be

registered without having financial responsibility, in violation of Title 18, United

States Code, Section 13, assimilating North Carolina General Statute 20-313(a).




                                           2

          Case 5:20-mj-01556-RN Document 1 Filed 05/20/20 Page 2 of 3
                                    COUNT FIVE


      THAT, on or about August 22, 2019, on the Fort Bragg Military Reservation,

an area within the special maritime and territorial jurisdiction of the United States,

and within the Eastern District of North Carolina, ANTONIO L. WALKER, did

operate a motor vehicle upon a street, highway, or public vehicular area while

his/her driver's license was suspended, in violation of Title 18, United States Code,

Section 13, assimilating North Carolina General Statute 20-28(a).




                                           Special Assistant United States Attorney
                                           XVIII Airborne Corps~ Ft Bragg
                                           Fort Bragg, NC 28307-5000
                                           (910) 908-5934




                                          3

         Case 5:20-mj-01556-RN Document 1 Filed 05/20/20 Page 3 of 3
